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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


BENJAMIN NORTH,

                        Plaintiff,

        v.                                                 Case No. 1:17-cv-01373-TNM

THE CATHOLIC UNIVERSITY OF AMERICA



                        Defendant


                            POST-MEDIATION STATUS REPORT

        Plaintiff Benjamin North and Defendant The Catholic University of America, by counsel,

submit this post-mediation status report:

        1.       Discovery in this case ended on May 2, 2019.

        2.       At a hearing held on May 6, 2019, the Court referred this case to mediation. In a

minute order entered that day, the Court directed the parties to file a status report by August 7,

2019.

        3.       A mediation was held in this case on July 24, 2019. The mediation concluded

without a settlement. Though the parties remain open to future settlement discussions, they do

not believe that scheduling a further mediation session would be productive at this time.

        4.       The parties propose that the Court enter a schedule for briefing dispositive

motions. Both counsel for the University will be out of the country on pre-paid vacations for

significant portions of August and September.        Accordingly, counsel for the parties have

conferred and propose the following schedule:




                                                 1
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October 4, 2019:       Motions for Summary Judgment Filed
November 4, 2019:      Oppositions Filed
November 18, 2019:     Replies Filed


Dated: July 31, 2019



                          Respectfully submitted,

                          /s/ Jesse Winograd w/ permission
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                          Counsel for Plaintiff Benjamin North


                          /s/ William D. Nussbaum
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                          Counsel for Defendant
                          The Catholic University of America




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                              CERTIFICATE OF SERVICE

    I hereby certify that on the 31st day of July, 2019, a copy of the foregoing POST-
MEDIATION STATUS REPORT was served via the Court’s online filing system on:

              Jesse Winograd
              jwinograd@gowensilva.com
              Gowen Silva & Winograd PLLC
              513 Capitol Court N.E., Suite 100
              Washington, DC 20002
              Counsel for Plaintiff Benjamin North


                                                     /s/ William D. Nussbaum
                                                     William D. Nussbaum
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 IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA


BENJAMIN NORTH,

                       Plaintiff,

        v.                                              Case No. 1:17-cv-01373-TNM

THE CATHOLIC UNIVERSITY OF AMERICA



                       Defendant


                                    PROPOSED ORDER

        Upon consideration of the Parties’ Third Joint Motion To Extend Scheduling Order (the

“Motion”), it this     day of April, 2019:

        ORDERED that the Motion is GRANTED; and it is

        FURTHER ORDERED that fact and expert discovery will close in this case on May 2,

2019.


                                                   Trevor N. McFadden
                                                   United States District Judge




COPIES TO ALL PARTIES
